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                                   IN THE UNITED STATES DISTRICT COURT

                                         FOR THE DISTRICT OF OREGON

                                               PORTLAND DIVISION

          GEORGE RAY,                                        USDC No
                                                                        CV11- 196 BR
                                Plaintiff,
                                                             COMPLAINT
                  v.


                                                             (FSLA and FMLA Claim)
          YAMHILL COMMUNITY ACTION
          PARTNERSHIP, an Oregon domestic non
          profit corporation,                                (Jury Trial Requested)

                                Defendant.
                                                             PRAYER: $100,000.00


                                             NATURE OF THE ACTION

                                                        1.


                 This is an action by George Ray ("Ray"), aformer employee ofYamhill Community
          Action Partnership ("YCAP"), for violation ofthe Family Medical Leave Act and failure to pay
«         wages for all hours worked.




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                                            PARTIES

                                                 2.


        Ray is acitizen ofthe State ofOregon and resides in Vernonia, Oregon.
                                                 3.


        YCAP is an Oregon domestic non-profit corporation which, in part, provides transitional
 housing to assist persons to self-sufficiency in the Yamhill County community.
                                                 4.

        YCAP employs more than fifty persons.

                                        JURISDICTION

                                                5.


        28 USC §1331 grants the District Courts ofthe United States original jurisdiction ofall
civil actions arising under the laws ofthe United States. This action is brought pursuant to 29
USC § 2601 etseq.

                                            VENUE


                                                6.


       Venue is proper because both Plaintiffand Defendant reside in the district ofOregon and
all activities complained ofoccurred within the State ofOregon.
                           FACTS COMMON TO ALL CLAIMS

                                                7.


       Ray was hired by YCAP as a shelter resident manager in 2007.
                                               8.


       As shelter resident manager, Ray was required to be on site from 5:00 p.m. daily
following his work as aschool teacher in Dayton, Oregon. He was required to live on the site for
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the evening until he went to work the following morning at7:00 a.m. His jobwas tomaintain the
shelter astransitional housing for citizens of Yamhill County.

                                                9.


        Ray was paid $200.00 a month for his work asa shelter resident manager.

                                               10.


        Ray maintained his domicile with his wife in Vernonia, Oregon.

                                               11.


        In late October2009, Ray underwent surgery for a serious medicalcondition. He took

someleave and then returnedto work. Ray requested further leave in Decemberof 2009.

                                               12.


        On December 13,2009, Ray requested that his leave be extended until the first of the

year.


                                               13.


        On December 14,2009, the following day, YCAP terminated Ray indicating that hehad
no leave accrued.


                                FIRST CLAIM FOR RELIEF

                             Failure to Pay Wages - ORS 652.120

                                               14.


        Inviolation of ORS 652.120, YCAP failed to pay Ray wages for all hours worked.




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                                SECOND CLAIM FOR RELIEF

                         Failure to Pay Minimum Wage - ORS 652.025

                                                 15.


        In violation ofORS 652.025, YCAP failed to pay Ray minimum wages for all hours
 worked.


                                 THIRD CLAIM FOR RELIEF

              Penalty Wages for Failure to Pay Minimum Wage - ORS653.055
                                                 16.


       Ray provided notice of YCAP's failure to pay minimum wages more than twelve days
prior to filing this Complaint. Ray is thus entitled to apenalty wage equal to thirty days' pay.
                               FOURTH CLAIM FOR RELIEF

                 Penalty Wages for Failure to Pay Over-Time- ORS 653.055

                                                17.


       Notice ofthe failure topay over-time wages was provided to YCAP more than twelve
days prior to filing thisComplaint.

                                 FIFTH CLAIM FOR RELIEF

                   Failure to Pay Minimum Wage - 29 USC Sec. 206(a)(1)
                                                18.


       In violation of29 USC Sec. 206(a)(1), YCAP failed to pay Ray minimum wages for each
hour worked. Ray is entitled to minimum wage for all hours worked and pursuant to 29 USC
Sec. 216(b), Ray is entitled to liquidated damages in an amount equal to the unpaid minimum
wage as well aspayment ofthe minimum wage for allhours worked.


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                                 SIXTH CLAIM FOR RELIEF

                          Failure to Pay Over-Time - 29 USC 207(a)(1)
                                                19.


        Ray worked approximately twenty hours in excess offorty hours per week. In violation
 of29 USC 207 et seq., YCAP failed to pay Ray over-time wages for hours worked in excess of
 forty per week.

                                                20.


        Ray is entitled to apenalty wage equal to thirty day's pay for YCAP's failure to pay
 over-time pursuant to ORS 653.055.

                               SEVENTH CLAIM FOR RELIEF

          Liquidated Damages for Failure to Pay Over-Time - 29 USC Sec. 216(b)
                                               21.


       Pursuant to 29 USC Sec. 216(b), Ray is entitled to liquidated damages in an amount
equal to the unpaid over-time wages for YCAP's failure to pay over-time.
                               EIGHTH CLAIM FOR RELIEF

                      Family Medical Leave Act - 29 USC §2601 et seq.
                                               22.


       Pursuant to 29 USC §2601 et seq, an employer who employs fifty or more persons is
required to grant leave for up to twelve weeks per calendar year to an employee for serious
medical reasons.


                                               23.


       Defendant YCAP violated 29 USC §2601 et seq by denying leave to PlaintiffRay in
December of 2009.

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                                                 24.


        As adirect result ofDefendant YCAP's violation of29 USC 2615, PlaintiffRay has lost
 wages in an amount to be proven at trial.

                                                 25.


        Additionally, 29 USC §2617 allows for interest and liquidated damages equal to the
 amount of lost wages.

                                                 26.


        Pursuant to 29 USC §2617 aCourt may allow to the Plaintiffreasonable attorney's fees,
 reasonable expert fees and other costs ofthis action to be paid by Defendant.
                                 NINTH CLAIM FOR RELIEF

                         Oregon Family Leave Act - ORS 659A.150 etseq.
                                                27.


       Defendant YCAP employed twenty-five or more persons in the State ofOregon for the
calendar year prior to PlaintiffRay's attempt to take leave.
                                                28.


       PlaintiffRay was employed by YCAP for over one-hundred and eighty days prior to the
date onwhich his family leave would have commence.

                                                29.


       PlaintiffRay worked an average ofgreater than twenty-four hours per week for YCAP
for the year prior when the family leave commenced.

                                               30.


       Pursuant to ORS 650A.162 PlaintiffRay, as an eligible employee is entitled to twelve
weeks offamily leave for the purposes identified inORS 659A.159.
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                                                 31.


        In December 2009, PlaintiffRay requested OFLA leave to seek treatment for and recover
 from aserious health condition. Defendant YCAP violated ORS 659A.162 by denying leave to
Plaintiff Ray in December 2009.

                                                 32.


        As adirect result ofDefendant YCAP's violation ofORS 659A.162, PlaintiffRay has
lost wages in an amount to be proven at trial. Additionally, ORS 659A.885 allows for the
recovery ofcompensatory damages and reasonable attorney's fees as well as costs ofthe
litigation to a prevailing plaintiff.

                                                 33.

        Plaintiff herein requests ajurytrial.



       WHEREFORE, Plaintiffprays for judgment as follows:
       On his wage claims, Plaintiff is entitled to:

            1. Minimum wage for all hours worked;

           2. Over-time pay for all hour worked in excess offorty hours per week;
           3. Liquidated damages in an amount equal to unpaid over-time wages and unpaid
               minimum wages;

           4. Reasonable attorney's fees; and

           5. Costs and disbursements herein.

       On his FMLA claim, Plaintiff is entitled to:

           1. Past wage-loss from January 1,2010 through the present;
           2. Future wage-loss in an amount tobe determined attrial;
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         3. Damages in the amount ofpast wage-loss from January 1,2010 through date of
            trial;

         4. Reasonable attorney's fees, expert fees and costs incurred herein; and
         5. Other reliefthe Court believes is just and equitable.


      DATED this ' > day ofFebruary 2011.

                                          Respectfully Submitted:

                                          HOLLANDER, LEBENBAUM & GANNICOTT



                                               e
                                          Philip M. Lebenbaum, OSB #860621
                                          Of Attorneys for Plaintiff




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